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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )             Case No. 5:18-227-SLP
v.                                              )
                                                )
JOSEPH MALDONADO-PASSAGE,                       )
a/k/a Joseph Allen Maldonado                    )
a/k/a Joseph Allen Schreibvogel                 )
a/k/a “Joe Exotic”,                             )
                                                )
       Defendant.                               )


                    MOTION FOR RECONSIDERATION OF ORDER

       COMES NOW the Defendant, JOSEPH MALDONADO-PASSAGE, by and

through undersigned counsel, and files this Motion for Reconsideration of Order and in

support thereof states as follows:

       On November 7, 2018, a federal grand jury returned a Superseding Indictment

against Mr. Maldonado-Passage in Case No. 5:18-cr-227. Mr. Maldonado-Passage was

charged with twenty-one counts, including nineteen counts of wildlife crimes in violation

of the Endangered Species Act, 16 U.S.C. §§ 1531–1544, and the Lacey Act, 16 U.S.C. §§

3371–3378, and two counts of using interstate facilities in the commission of a murder-for-

hire plot, in violation of 18 U.S.C. § 1958(a)1 and § 2. These charges stemmed from an

undercover sting operation by the USFWS and the FBI that began in September of 2017.

       Mr. Maldonado-Passage’s attorneys filed a number of pretrial motions, including a

Motion to Dismiss Counts as Multiplicitous. (Doc. 39). This motion argued that Counts 1
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and 2 of the Superseding Indictment charged a single violation of 18 U.S.C. §1958(a). This

Court denied the motion, finding that “the two alleged plots grew out of a single

investigation by law enforcement officials and had the same intended victim does not alter

the alleged plots’ individual natures.” (Doc. 53, p. 10).

       Mr. Maldonado-Passage went to trial and was convicted. A timely appeal followed.

On July 14, 2021, the United States Court of Appeals for the Tenth Circuit issued an

opinion which affirmed Mr. Maldonado-Passage’s conviction but vacated the sentence and

remanded for resentencing. The Tenth Circuit determined this Court should group Joseph

Maldonado-Passage’s two murder-for-hire convictions, finding that “his two murder-for-

hire plots were similar, regular, and almost contemporaneous.” United States v.

Maldonado-Passage, 4 F.4th 1097, 1100 (10th Cir. 2021).

       In light of the Tenth Circuit’s ruling and in anticipation of his upcoming sentencing

hearing, Mr. Maldonado-Passages asks this Court to reconsider its Order denying the

Motion to Dismiss Counts as Multiplicitous. (Doc. 53). There are three (3) remedies for a

multiplicitous indictment: (1) dismissal of the multiplicitous count(s) pretrial; (2) order the

United States to elect which count to dismiss pretrial; or (3) allow the multiplicitous counts

to proceed to trial and, in the event of conviction, merge the counts at sentencing. See, e.g.,

U.S. v. Rosen, 365 F. Supp.2d 1126, (C.D. Cal. 2005) (after finding an indictment

multiplicitous, ordering the multiplicitous count to be dismissed); U.S. v. McCall, 2006

WL 1071771 at *2 (N.D. Iowa April 24, 2006) (after finding a gun indictment

multiplicitous, ordering the United States to elect which count it wished to proceed on at

trial); and U.S. v. Johnson, 2008 WL 2845639 (D. S.D. July 18, 2008) (after finding a gun
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indictment multiplicitous, ordering that it would merge any convictions post- trial to avoid

Double Jeopardy concerns). Here, Mr. Maldonado-Passage’s two murder-for-hire

convictions should be merged before he is re-sentenced on January 28, 2022.

       The First and Sixth Circuits are the only circuits to have addressed this issue and

both concluded that "‘separate phone calls which relate to one plan to murder one

individual constitute only one violation of 18 U.S.C. § 1958.’" United States v. Gordon,

875 F.3d 26, 35 (1st Cir. 2017) (quoting United States v. Wynn, 987 F.2d 354, 359 (6th Cir.

1993)). To hold otherwise creates an irrational result in light of the congressional intent

behind the statute. Section 18 U.S.C. 1958(a) imposes a graduated punished scheme: a

maximum of 10 years’ imprisonment for a violation that does not result in personal injury,

a maximum of 20 years’ imprisonment for a violation that does result in personal injury,

and a maximum of death or life imprisonment if a murder is committed. This sort of a

graduated punishment scheme "conveys a clear indication of Congress’ apparent belief that

the greater the harm to the victim, the harsher the punishment should be for the offender."

United States v. Gordon, 875 F.3d 26, 33 (1st Cir. 2017). In this case, assume Mr.

Maldonado-Passage made a single call, arranged and paid for C.B.’s murder, and then

never picked up the phone again. If his plot partially succeeded, and C.B. suffered personal

injury (but not death) as a result, Maldonado-Passage would face a maximum sentence of

20 years. In this case, however, Mr. Maldonado-Passage’s single plot to arrange for the

murder of a single victim failed, but because he used two different hit men and made two

different calls, he was indicted on two separate counts of murder-for-hire. But facing 20

years imprisonment for a plot that did not result in bodily injury creates an irrational result
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“when considered in light of the evident purpose of the statute's sentencing scheme." Id.

       Further, the two-murder-for-hire counts in this case were part of the same course of

conduct and therefore, should merge before sentencing. The Tenth Circuit, in vacating Mr.

Maldonado-Passage’s sentence, found that his two murder-for-hire charges were connected

by a “common criminal objective” under United States Sentencing Guideline (U.S.S.G.)

§3D1.2(b). The Tenth Circuit also analyzed Mr. Maldonado-Passage’s two murder-for-hire

plots under a “course of conduct” framework pursuant to §1B1.3(a)(2), which requires

consideration of the “degree of similarity of the offenses, the regularity (repetitions) of the

offenses, and the time interval between the offenses.” U.S.S.G. §1B1.3 cmt. n.5(B)(ii). The

Tenth Circuit found that “Maldonado-Passage’s two counts meet those factors—his two

murder-for-hire plots were similar, regular, and almost contemporaneous.” United States

v. Maldonado-Passage, 4 F.4th 1097, 1100 (10th Cir. 2021).

       “The test for multiplicity is whether the individual acts alleged in the counts at issue

are prohibited, or the course of conduct which they constitute. If the former, then each act

is punishable separately. If the latter, there can be but one penalty.” United States v.

McCullough, 457 F.3d 1150, 1162 (10th Cir. 2006) (quotation marks and citations

omitted). Given the Tenth Circuit’s appellate findings in this case, Mr. Maldonado-

Passage’s two murder-for-hire plots constituted the same course of conduct and therefore,

there can only be one penalty. Mr. Maldonado-Passage can only be sentenced to a statutory

maximum of ten years for both counts, not ten years on each count. To not merge the counts

would violate Double Jeopardy.
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       WHEREFORE, the Defendant respectfully requests that the Court reconsider its

previous order (Doc. 53), holding that Counts 1 and 2 of the Superseding Indictment are

not multiplicitous.


Dated: This 23rd day of January, 2022.


                                                     Respectfully submitted:


                                                     /s/ Molly Parmer
                                                     Molly Parmer
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 23, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF and a copy hereof has been
furnished to those registered participants of the ECF system.

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